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              United States Court of Appeals
                   for the Fifth Circuit                                United States Court of Appeals
                                                                                 Fifth Circuit

                                                                               FILED
                                                                            April 7, 2022
                                   No. 21-30326                           Lyle W. Cayce
                                                                               Clerk

   United States of America,

                                                             Plaintiff—Appellee,

                                       versus

   Bryant Lamont Harris

                                                         Defendant—Appellant.


                  Appeal from the United States District Court
                     for the Eastern District of Louisiana
                            USDC No. 2:20-CR-71-1


   Before King, Jones, and Duncan, Circuit Judges.
   Per Curiam:*
          Bryant Lamont Harris appeals the district court order holding that he
   remains incompetent to stand trial and continuing his commitment to the
   custody of the Attorney General under 18 U.S.C. § 4241.           Because of
   Harris’s already lengthy pretrial detention, this court expedited the appeal.




          *
            Pursuant to 5th Circuit Rule 47.5, the court has determined that this
   opinion should not be published and is not precedent except under the limited
   circumstances set forth in 5th Circuit Rule 47.5.4.
Case:
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          This court reviews a district court’s competency determination using
   a “species of clear error” review. United States v. Simpson, 645 F.3d 300, 306
   (5th Cir. 2011) (quoting United States v. Joseph, 333 F.3d 587, 589 (5th Cir.
   2003)). “[A]fter re-analyzing the facts and taking a hard look at the trial
   judge’s ultimate conclusion, [this court] will reverse only if the finding was
   clearly arbitrary or unwarranted.” United States v. Porter, 907 F.3d 374, 380
   (5th Cir. 2018) (quoting Simpson 645 F.3d at 306). After carefully reviewing
   the record and hearing oral argument, this court finds that the district court’s
   conclusion that Harris is still not competent to stand trial is not clearly
   arbitrary or unwarranted.      Critically, reports prepared by two forensic
   psychologists and live testimony by one of those psychologists support the
   district court’s conclusion. Notwithstanding our finding, the already much-
   extended length of Harris’s pretrial detention is of great concern. We
   therefore strongly urge the government and defense counsel to work
   expeditiously to bring this case to a final conclusion.
          AFFIRMED.




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